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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101 JEK
   AMERICA,
                                       “NOTICE TO CORRECT TITLE
          Plaintiff,                   OF MOTIONS;”
                                       DECLARATION OF COUNSEL;
         v.                            EXHIBIT “A;” CERTIFICATE
                                       OF SERVICE

   ANTHONY T. WILLIAMS,

          Defendant.


              “NOTICE TO CORRECT TITLE OF MOTIONS”

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby gives

   “Notice To Correct Title of Motions” as described in Exhibit “A”

   attached to this document.
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   This notice is based on the declaration of counsel and Exhibit “A”

   attached to this document.

      Dated: December 17, 2018

                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
